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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  Senator RICHARD BLUMENTHAL, et al.,

                                Plaintiffs,

  v.                                                    Civil Action No. 17-cv-1154-EGS

  DONALD J. TRUMP, in his official
  capacity as President of the United States,

                                Defendant.




                     NOTICE OF WITHDRAWAL OF APPEARANCE

       Please take notice that Brett A. Shumate hereby withdraws his appearance on behalf of

Defendants in the above-captioned case because I will be leaving the Department of Justice. The

President will continue to be represented by other attorneys at the Department of Justice.


DATED: April 11, 2019
                                                /s/ Brett A. Shumate
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